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CaSe 06-25243 Filed 04/27/07 DOC 30

 

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF CALIFORNIA
In re Case NO. 06-25243-C-7

DOUGLAS E. SHUCK and MC NO. JMS-l

LESLIE E. SHUCK

Debtors.

V\/\./vv\/v

 

FINDINGS OF FACT AND CONCLUSIONS OF LAW
ON MDTION FOR RELIEF FROM AUTOMATIC STAY NOT INTENDED FOR
PUBLICATICN
These findings of fact and conclusions of law, which are
not intended for publication, are rendered in this contested
matter pursuant to Federal Rule of Civil Procedure 52 as

incorporated by Federal Rules of Bankruptcy Procedure 7052 and

9014.

Jurisdiction
Jurisdiction is founded upon 28 U.S.C. § 1334. This is

a core proceeding. 28 U.S.C. § 157(b)(2)(G).

Findings of Fact

Debtors filed their voluntary chapter 7 petition on

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December 8, 2006. They scheduled real property commonly known
as 9243 Chianti Way, Elk Grove, CA 95624 ("property") as
property of the estate. The first meeting of creditors was
held on January 16, 2007. The chapter 7 trustee filed a report
finding that there is no property available for distribution
from the estate over and above that exempted by the debtors.
Debtors were discharged from all dischargeable debts on March
21, 2007,

On March 19, 2007, Chase Home Finance ("movant") filed a
motion, notice, and declaration requesting that this court
vacate the automatic stay to permit movant to foreclose upon
the property. The fair market value of the property is
approximately $342,000.00. Movant has a lien on the property
in the approximate amount of $285,348.19. There are other
liens against the property in the approximate amount of
$23,159.00. Debtors filed a response to the motion on March
22, 2007, which stated that they have no basis to oppose the
motion,

No opposition to the motion was filed within the time
prescribed by Local Bankruptcy Rule 9014-l(f)(1). The parties
have consented to taking evidence by affidavit and have not
demonstrated that there is any disputed material factual issue.
§§§ L. Bankr. R. 9014-l(f)(l). The evidentiary record is
closed. ;QL

Upon review of the record, the court determined that
the written record was adequate and that no oral argument is

necessary.

 

 

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Conclusions of Law

The automatic stay of acts against debtor in personam
expires when the debtor is granted a discharge, ll U.S.C.

§ 362(c)(2)(C). Acts against property of the estate remain
stayed until the earliest of the time when the bankruptcy case
is closed, dismissed, or the property ceases to be property of
the estate. ll U.S.C. § 362(c). The automatic stay may be
terminated earlier if debtor fails to protect the secured
party's interest adequately, § 362(d)(1), and, with respect to
a stay of an act against property, debtor does not have equity
in the property, § 362(d)(2)(A), and the property is not
necessary to an effective reorganization. 11 U.S.C. §
362(d)(2)(B). The issue of whether the property is necessary
to an effective reorganization is not considered in a chapter 7
case because no reorganization is contemplated in a chapter 7
case.

Although the debtors appear to have equity in the
property, since the debtors were granted a discharge, the
automatic stay has expired as to the debtors. Thus, the motion
insofar as it is directed at the interest of the debtors is
moot and will be denied.

However, the motion will be granted as to the interest
of the trustee.

An appropriate order will issue.

Dated: April 27, 2007

 

UNITED sTAT§W/BANKRUPTCY JUDGE

 

 

 

 

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CERTIFICATE OF SERVICE

On the date indicated below, I served a true and
correct copy(ies) of the attached document by placing said
copy(ies) in a postage paid envelope addressed to the person(s)
hereinafter listed and by depositing said envelope in the
United States mail or by placing said copy(ies) into an
interoffice delivery receptacle located in the Clerk's Office.

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United States Courthouse

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Sacramento, CA 95814

Dated:¢¢/S@W
` M>r@)wQ/zz%ry,.

Deputy Clerk

 

 

